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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  UNITED SERVICES AUTOMOBILE
  ASSOCIATION,
                                              §
               Plaintiff,                     §
  N.                                          § CIV. A. NOS. 2:21-CV-00246-JRG (LEAD)
                                              § 2:22-CV-00193-JRG
  PNC BANK N.A.,                              §
               Defendant.



                                 VERDICT FORM

       In answering the following questions and completing this Verdict Form, you

 are to follow all the instructions that I have given you in the Court s Final Jury

 Instructions. Your answers to each question must be unanimous. Some of the

 questions contain legal terms that are defined and explained in detail in the Final

 Jury Instractions. You should refer to and consider the Final Jury Instructions as you

 answer the questions in this Verdict Form.
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       As used herein, the following terms have the following meanings:



     Plaintiff or “Counter-Defendant or “USAA refers to United Services
    Automobile Association

    “Defendant or “Counter-Plaintiff or “PNC refers to PNC Bank N.A.

    The “ 598 Patent refers to U.S. Patent No. 10,769,598

    The “ 638 Patent refers to U.S. Patent No. 10,402,638

    The “’788 Patent refers to U.S. Patent No. 7,949,788

    The ’786 Patent refers to U.S. Patent No. 8,868,786

    “USAA’s Asserted Claims refers collectively to Claims 1, 3, 5, 10, and 13 of
    the ’598 Patent and Claim 20 of the ’638 Patent

     PNC’s Asserted Claims refers collectively to Claims 3 and 10 of the ’788
    Patent and Claims 1, 2, and 5 of the ’786 Patent




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       IT IS VERY IMPORTANT THAT YOU FOLLOW THE
      INSTRUCTIONS PROVIDED IN THIS VERDICT FORM




      READ THEM CAREFULLY AND ENSURE THAT YOUR
             VERDICT COMPLIES WITH THEM




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       THE VERDICT AS RELATES TO THE 598 AND 638 PATENTS
                    ASSERTED BY USAA AGAINST PNC

 QUESTION NO. 1


 Did USAA prove by a preponderance of the evidence that PNC infringed ANY of

 USAA s Asserted Claims?




       Yes:                   No:




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 QUESTION NO. 2

 Did PNC prove by clear and convincing evidence that any of the following USAA

 Asserted Claims are invalid?

       For each claim below, please answer Yes or No .

       Claim 1 of the 598 Patent: Yes:                      No:

       Claim 3 of the 598 Patent: Yes:                      No: \/

       Claim 5 of the ’598 Patent: Yes:                     No: \/

       Claim 10 of the ’598 Patent: Yes:                    No: \/

       Claim 13 of the ’598 Patent: Yes:                    No: \/

       Claim 20 of the ’638 Patent: Yes:                    No: \/




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 If you answered NO to Question No. 1, OR YES to ALL of USAA s
 Asserted Claims in Question No. 2, then DO NOT answer Question No. 3.

 Answer Question No. 3 ONLY as to any USAA Asserted Claim that you have
 found BOTH to be infringed AND not invalid.


 QUESTION NO. 3



 Did USAA prove by a preponderance of the evidence that PNC willf lly infringed

 ANY of USAA s Asserted Claims that you found were infringed?


       Yes:             No:




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 If you answered NO to Question No. 1, OR YES to ALL USAA Asserted
 Claims in Question No. 2, then DO NOT ans er Question No. 4,

 Answer Question No. 4 ONLY as to any USAA Asserted Claim that ou have
 found BOTH to be infringed AND not invalid.


 QUESTION NO. 4a


 What sum of money, if paid now in cash, has USAA proven by a preponderance of

 the evidence would compensate it for its damages for infringement?


 Answer in United States Dollars and Cents, if any:




       $        H.             00             0        0            oo
 Answer Question No. 4b ONLY if you awarded monetary dama es in Question
 No. 4a.


 QUESTION NO. 4b


 Is the total amount you found in Question No. 4a a one-time lump sum for past and

 future sales, or a running royalty for past sales? Check ONLY one of the following:


 One-time lump sum:

 Running Royalty:




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      THE VERDICT AS RELATES TO THE 788 AND 786 PATENTS
                    ASSERTED BY PNC AGAINST USAA

 QUESTION NO. 5


 Did PNC prove by a preponderance of the evidence that USAA infringed ANY of

 PNC s Asserted Claims?




       Yes:                   No:




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 QUESTION NO. 6

 Did USAA prove by clear and convincing evidence that any of the following PNC

 Asserted Claims are invalid?

       For each claim below, please answer Yes or “No .

       Claim 3 of the 788 Patent:          Yes:           No: v

       Claim 10 of the 788 Patent:         Yes:           No: \/

       Claim 1 of the ’786 Patent:         Yes:           No: \/

       Claim 2 of the ’786 Patent:         Yes:           No:        /

       Claim 5 of the ’786 Patent:         Yes: No: \/




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  If you answered NO to Question No. 5, OR YES to ALL of PNC s Asserted
  Claims in Question No. 6 then DO NOT answer Question No. 7.

  Answer Question No. 7 ONLY as to any PNC Asserted Claim that you have
  found BOTH to be infringed AND not invalid.


  QUESTION NO. 7



  Did PNC prove by a preponderance of the evidence that USAA willfully infringed

  ANY of the PNC Asserted Claims that you found were infringed?


       Yes:              No:




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  If you answered NO to Question No. 5, OR YES to ALL PNC Asserted
  Claims in Question No. 6, then DO NOT ans er Question No. 8.

  Answer Question No, 8 ONLY as to any PNC Asserted Claim that you have
  found BOTH to be infringed AND not invalid.


  QUESTION NO. 8


  What sum of money, if paid now in cash, has PNC proven by a preponderance of the

  evidence would compensate it for its damages for infringement?


  Answer in United States Dollars and Cents, if any:




        $




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                 FINAL PAGE OF THE JURY VERDICT FORM

  You have now reached the end of the Verdict Form and should review it to ensure that

  it accurately reflects your unanimous determinations. The Jury Foreperson should then

  sign and date the Verdict Form in the spaces below. Once this is done, notify the Court

  Security Officer that you have reached a verdict. The Jury Foreperson should keep the

  Verdict Form and bring it when the jury is brought back into the courtroom.



                I/*1
  Signed this I day of September 2022.




                                            -I-                           *-
                                   Jury Foreperson




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